
PER CURIAM.
AFFIRMED. See Orange v. State, 983 So.2d 4, 5-6 (Fla. 3d DCA 2007) (noting that when defendant who agrees to appear at sentencing as part of plea is prevented from appearing in court by an arrest, fact of arrest standing alone cannot justify finding that defendant willfully failed to appear; however, when it is established that defendant committed new criminal offense after entering plea, and defendant’s incarceration on the new charge causes failure to appear, defendant’s failure to appear can be considered a willful and material breach of an agreement to appear because it was caused by his willful act of committing the crime).
LAWSON, C.J., EVANDER and COHEN, JJ., concur.
